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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF OKLAHOMA

(1) JA’LEE FOREMAN, JR.,          )
(2) DANIEL HEDRICK,               )
(3) JOSEPH MITCHELL, and          )
(4) JOHN BASCO,                   )
                                  )                         CASE NO.: CIV-21-1062-F
       Plaintiffs,                )
                                  )                         Attorney Lien Claimed
vs.                               )
                                  )                         Jury Trial Demanded
(1) OKLAHOMA COUNTY SHERIFF,      )
(2) OKLAHOMA COUNTY CRIMINAL      )
    JUSTICE AUTHORITY,            )
(3) BOARD OF COUNTY COMMISSIONERS )
    FOR OKLAHOMA COUNTY,          )
(4) CHRISTIAN CHARLES MILES,      )
(5) GREGORY CORNELL BUTLER, JR.,  )
                                  )
       Defendants.                )

                                         COMPLAINT

       COME NOW, the Plaintiffs, Ja’Lee Foreman, Jr., Daniel Hedrick, Joseph “Joey” Mitchell

and John Basco and for their Complaint against the above-named Defendants, state and allege as

follows:

                                           PARTIES

       1.      Plaintiff Ja’Lee Foreman, Jr. (“Mr. Foreman” or “Foreman”) is an individual and a

citizen of the State of Oklahoma.

       2.      Plaintiff Daniel Hedrick (“Mr. Hedrick” or “Hedrick”) is an individual and a citizen

of the State of Oklahoma.

       3.      Plaintiff Joseph “Joey” Mitchell (“Mr. Mitchell” or “Mitchell”) is an individual and

a citizen of the State of Oklahoma.

       4.      Plaintiff John Basco (“Mr. Basco” or “Basco”) is an individual and a citizen of the

State of Oklahoma.


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        5.      Defendant Oklahoma County Sheriff (currently Tommie Johnson, III) is sued in his

official capacity. It is well-established, as a matter of Tenth Circuit authority, that a § 1983 claim

against a county sheriff in his official capacity “is the same as bringing a suit against the county.”

Martinez v. Beggs, 563 F.3d 1082, 1091 (10th Cir. 2009). See also Porro v. Barnes, 624 F.3d 1322, 1328

(10th Cir. 2010); Bame v. Iron Cnty., 566 F. App'x 731, 737 (10th Cir. 2014). Thus, in suing the

Oklahoma County Sheriff in his official capacity, Plaintiffs have brought suit against the

County/Oklahoma County Sheriff’s Office (“OCSO”). The Oklahoma County Sheriff is being

sued in his official capacity because, during the times when Plaintiffs’ Constitutional rights were

violated at the Oklahoma County Detention Center (“Oklahoma County Jail” or “Jail”), OCSO

maintained responsibility for the management and operation of the Jail. This included primary

responsibility for the creation and implementation of official policies, customs and practices in

place at the Jail.

        6.      Defendant Oklahoma County Criminal Justice Authority (“OCCJA” or “Jail

Trust”) is a public trust created for the furtherance of purported public functions pursuant to 60

Okla. Stat. § 176, et seq. OCCJA was created by a certain “Trust Indenture.” Under the Trust

Indenture, OCCJA is to “assist” Oklahoma County in its stated objective of operating the

Oklahoma County “Jail Facilities”, which includes the Oklahoma County Detention Center

(“Oklahoma County Jail” or “Jail”). Under the Trust Indenture, OCCJA was delegated the

responsibility of developing policies and procedures to address the administration of the Jail.

However, the Trust Indenture specifically provides that the Oklahoma County Sheriff was to

continue operating the Jail until such time as the OCCJA and Oklahoma County had entered into

a lease agreement and/or funding agreement(s) that specifically provided for the OCCJA to

commence responsibility for management and operation of the Jail. OCCJA did not take over

responsibility for management and operation of the Jail until June 1, 2020. However, since June 1,


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2020, OCCJA has remained the County entity with primary responsibility for the management

and operation of the Jail. The Oklahoma County Sheriff and a member of the Oklahoma County

Board of County Commissioners are permanent members / trustees of the OCCJA. OCCJA is

sued as a successor County entity under Plaintiffs’ municipal liability theory.

       7.      Defendant Board of County Commissioners for Oklahoma County (“Board” or

“BOCC”) is the legislative entity with non-delegable statutory responsible for providing a jail

facility for Oklahoma County, Oklahoma that is adequate for the safe-keeping of inmates. See 57

O.S. § 41.

       8.      Defendant Christopher Charles Miles (“Officer Miles”) or (“Miles”) is a citizen of

Oklahoma. Officer Miles was, at all times relevant hereto, acting under color of state law, and in

the scope of his employment, as employee and/or agent of the OCSO and/or OCCJA.

       9.      Defendant Gregory Cornell Butler, Jr. (“Officer Butler”) or (“Butler”) is a citizen of

Oklahoma. Officer Miles was, at all times relevant hereto, acting under color of state law, and in

the scope of his employment, as employee and/or agent of the OCSO and/or OCCJA.

                                    JURISDICTION AND VENUE

       10.     The jurisdiction of this Court is invoked pursuant to 28 U.S.C § 1343 to secure

protection of and to redress deprivations of rights secured by the Fourth, Fourteenth and/or Eighth

Amendment(s) to the United States Constitution as enforced by 42 U.S.C. § 1983, which provides

for the protection of all persons in their civil rights and the redress of deprivation of rights under

the color of law.

       11.     This Court also has original jurisdiction under 28 U.S.C. § 1331 to resolve a

controversy arising under the Constitution and laws of the United States, particularly the Fourth,

Fourteenth and/or Eighth Amendment(s) to the United States Constitution and 42 U.S.C. § 1983.




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         12.     The acts complained of herein occurred in Oklahoma County, Oklahoma.

Jurisdiction and venue are thus proper under 28 U.S.C. §§ 116(a) and 1391(b).

                                    FACTUAL BACKGROUND

         !       Individual Plaintiffs

         Ja’Lee Foreman

         13.     Paragraphs 1-12 are incorporated herein.

         14.     In November 2019, Mr. Foreman was an inmate at the Oklahoma County Jail. At

that time, Mr. Foreman was just 18-years-old and small in stature.

         15.     At all pertinent times, Mr. Foreman was a pretrial detainee.

         16.     On November 2, 2019, without provocation, Officer Miles accosted Mr. Foreman

at his cell door on the eighth floor of the Jail. Officer Miles’ confrontation of Mr. Foreman was

completely unjustified and served no legitimate governmental purpose. Officer Miles’ conduct was

plainly calculated to agitate, embarrass and provoke Mr. Foreman.

         17.      Specifically, Officer Miles yelled at Mr. Foreman, the following in rapid succession:

“You f*** up and I'm going to make sure you live in hell!”, “I'm going to f*** your Mama” and

“I'm going to beat you’re a**”.

         18.      Fearful for his safety, Mr. Foreman remained calm in hopes that this verbal assault

would not escalate any further.

         19.     Unfortunately, Foreman’s attempt to quell the situation was unsuccessful.

         20.     Officer Miles next entered Mr. Foreman’s cell. Officer Butler was present during

this entire episode, and shut the cell door, leaving Mr. Foreman in an enclosed space with Officer

Miles.




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       21.     Officer Miles continued insulting and provoking Mr. Foreman with no reaction.

Officer Miles then physically turned Mr. Foreman around and handcuffed him. Thereafter,

Officer Butler entered the cell and together Miles and Butler extracted Mr. Foreman from his cell.

       22.     Officers Miles and Butler walked Mr. Foreman from his cell and outside the pod.

As Mr. Foreman was escorted from the pod, he saw Lieutenant Christopher Raymond

Hendershott (“Lieutenant Hendershott”), who made no attempt to intervene or help young Ja'Lee.

       23.     Officers Miles and Butler placed Mr. Foreman on a bench outside the pod and then

handcuffed him to a bar behind his back. Ja’Lee was left in this position for over and hour and

half. This prolonged restraint of Mr. Foreman was excessive and not rationally related to any

legitimate governmental or penological purpose. Mr. Foreman posed no threat to the Officers or

anyone else. He was compliant. He posed no security problem. He was not actively resisting any

lawful command.

       24.     After responding to a disturbance in another area of the Jail, Officers Miles and

Butler returned to the bench where Mr. Foreman was restrained and physically moved him back

to his cell. After removing the handcuffs, Officer Miles, in the presence of Officer Butler, drove his

knee into Mr. Foreman’s back as he slammed him into the wall of his cell. As Mr. Foreman turned

around, Officer Miles then spit into Mr. Foreman’s face. Both Officer Miles and Officer Butler

laughed at Mr. Foreman as they left the cell pod. This was unnecessary and excessive use of force

under any standard.

       25.     As a direct and proximate result of Officers Miles and Butler’s conduct, Mr.

Foreman suffered physical injuries, mental and physical pain and suffering and other damages and

losses as described herein.



       Daniel Hedrick


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        26.       Paragraphs 1-25 are incorporated herein.

        27.       Mr. Hedrick was also an inmate at the Jail in November 2019.

        28.       At all pertinent times, Mr. Hedrick was a pretrial detainee.

        29.       On November 23, 2019, Officer Miles and Butler tortured and tormented Mr.

Hedrick.

        30.       More specifically, at approximately 3:15 a.m., Officers Butler and Miles took

Hedrick from his cell and placed him into an attorney visitation room on the Eighth floor of the

Jail. Officer Miles had previously removed all furniture from the attorney visitation room, which

forced Mr. Hedrick to stand.

        31.       Officers Butler and Miles then handcuffed Hedrick behind his back and then

secured him to the wall where he was left standing for one and ½ hours. In other words, Mr.

Hedrick was placed in a “standing stress position,” a well-known “enhanced interrogation” or

torture tactic.

        32.       After securing him to the wall, the Officers played a well-known children’s song,

“Baby Shark,” at high volume on the computer adjacent to the room. “Baby Shark” was played

on a continuous loop and Hedrick was forced to listen to the song over and over while physically

restrained in the attorney visitation room.

        33.       The shift commander, Lieutenant Hendershott, was aware Hedrick had been

detained and forced to listen to “Baby Shark” on a loop, but took no action to intervene and stop

the misconduct.

        34.       This prolonged restraint of Mr. Hedrick, under the conditions described herein, is

tantamount to torture, was excessive and not rationally related to any legitimate governmental or

penological purpose. Mr. Hedrick posed no threat to the Officers or anyone else. He was

compliant. He posed no security problem. He was not actively resisting any lawful command.


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        35.     Miles, Butler and Hendershott were subsequently charged criminally, in connection

with their treatment of Mr. Hedrick, with counts of “Cruelty to Prisoners,” “Corporal Punishment

to an Inmate” and “Conspiracy.” See State of Oklahoma vs. Hendershott, Miles and Butler, CM-2020-

3083 (Oklahoma County Dist. Court).

        36.     As a direct and proximate result of Officers Miles and Butler’s conduct as described

herein, Mr. Hedrick suffered mental and physical pain and suffering and other damages and losses

as described herein.

        Joey Mitchell

        37.     Paragraphs 1-36 are incorporated herein.

        38.     Mr. Mitchell was also an inmate at the County Jail in November 2019.

        39.     At all pertinent times, Mr. Mitchell was a pretrial detainee.

        40.     On November 30, 2019, at approximately 11:45 p.m., Officers Butler and Miles

took Mr. Mitchell from his cell and placed him into the above-referenced attorney visitation

room on the eighth floor of the Jail. Similar to the Hedrick incident, the Officers removed all

furniture from the attorney visitation room, thereby forcing Mr. Mitchell to stand.

        41.     As they had done with Mr. Hedrick days earlier, Officers Butler and Miles then

handcuffed Mitchell behind his back and then secured him to the wall where he was left standing

for a prolonged period of time. Mr. Mitchell was restrained in the above-referenced “standing

stress position” for three (3) to four (4) hours.

        42.     After restraining Mitchell to the wall in the “standing stress position”, Officers Miles

and Butler repeated their inhumane practice of playing the “Baby Shark” song at high volume.

Consistent with their practice, “Baby Shark” was played on a continuous loop and Mitchell was

forced to listen to the song over and over while physically restrained in the attorney visitation room.

The volume of the song was so loud that it was reverberating down the hallways.


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       43.     Officers Miles and Butler also threatened Mr. Mitchell that he would not be

returned to his pod/cell but be placed in “lockdown” a/k/a “the hole.”

       44.      This prolonged restraint of Mr. Mitchell, under the conditions described herein,

is tantamount to torture, was excessive and not rationally related to any legitimate governmental

or penological purpose. Mr. Mitchell posed no threat to the Officers or anyone else. He was

compliant. He posed no security problem. He was not actively resisting any lawful command.

       45.     Miles, Butler and Hendershott were subsequently charged criminally, in connection

with their treatment of Mr. Mitchell, with counts of “Cruelty to Prisoners,” “Corporal Punishment

to an Inmate” and “Conspiracy.” See State of Oklahoma vs. Hendershott, Miles and Butler, CM-2020-

3083 (Oklahoma County Dist. Court).

       46.     As a direct and proximate result of Officers Miles and Butler’s conduct as described

herein, Mr. Mitchell suffered mental and physical pain and suffering and other damages and losses

as described herein.

       John Basco

       47.     Paragraphs 1-46 are incorporated herein.

       48.     Mr. Basco was an inmate at the County Jail in December 2019.

       49.     At all pertinent times, Mr. Basco was a pretrial detainee.

       50.     On December 7, 2019, at approximately 2:00 a.m., Officer Miles took Basco from

his cell and placed him into the above-referenced attorney visitation room on the eighth floor of

the Jail. Similar to the Hedrick and Mitchell incidents before, Officer Miles removed the furniture

from the attorney visitation room, thereby forcing Mr. Basco to stand.

       51.     As he had done with Mrs. Hedrick and Michell days earlier, Officer Miles then

handcuffed Basco behind his back and then secured him to the wall where he was left standing for




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a prolonged period of time. Mr. Basco was restrained in the above-referenced “standing stress

position” for approximately two (2) hours.

          52.     After restraining Mr. Basco to the wall in the “standing stress position”, Officer

Miles repeated the inhumane practice of playing the “Baby Shark” song at high volume. Consistent

with this practice, “Baby Shark” was played on a continuous loop and Basco was forced to listen

to the song over and over while physically restrained in the attorney visitation room. The volume

of the song was so loud that it was reverberating down the hallways.

          53.      This prolonged restraint of Mr. Basco, under the conditions described herein, is

tantamount to torture, was excessive and not rationally related to any legitimate governmental or

penological purpose. Mr. Basco posed no threat to the Officers or anyone else. He was compliant.

He posed no security problem. He was not actively resisting any lawful command.

          54.     Miles and Hendershott were subsequently charged criminally, in connection with

their treatment of Mr. Mitchell, with counts of “Cruelty to Prisoners,” “Corporal Punishment to

an Inmate” and “Conspiracy.” See State of Oklahoma vs. Hendershott, Miles and Butler, CM-2020-3083

(Oklahoma County Dist. Court).

          55.     As a direct and proximate result of Officers Miles’ conduct as described herein, Mr.

Basco suffered mental and physical pain and suffering and other damages and losses as described

herein.

   ! The Cruelty of Officers Miles and Butler’s Practices and the County’s
     Knowledge Thereof

          56.     Paragraphs 1-55 are incorporated herein.




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          57.       Use of the “Baby Shark” children’s song, in the manner described herein, is known

device to torment.1 It has been reported that the City of West Palm Beach has utilized “Baby

Shark” outside an event center to deter homeless people from sleeping or convening in the area at

night.2

          58.      More generally, it is well-documented that at Abu Ghraib and Guantanamo Bay,

American interrogators blasted heavy metal music as an “enhanced interrogation” technique to

weaken Iraqi captives’ resolve.

          59.      Indeed, the specific “Baby Shark” torture events at the Jail, as summarized above,

are now the subject of scientific analysis. In October of 2020, this specific academic question was

posed: “So what makes “Baby Shark” so agonizing, it’s like torture?” The scientific answer provided:

                There are actually a lot of reasons for this, clinical psychologist John Mayer,
                PhD…. “The music can be hard on the ears,” he says. “Certain pitches hit the
                auditory receptors in ways that are physiologically painful. These are high-
                pitched tones and screechy elongated sounds, like nails across a blackboard.”
                Mayer says these can “elicit a painful reaction in the brain.”

                The lyrics also come into play. “When you combine nonsensical words,
                insulting words, and demeaning words with bad music, you have the perfect
                storm for a horrible song,” Mayer says.

                Overfamiliarity can make a song annoying, too, Beaman adds. “Baby Shark” is
                “simple enough to be catchy, and has had massive airplay,” he says. If you tend
                to have a strong musical memory for things you find slightly annoying at first,
                the additional features of “Baby Shark” can make it especially difficult to take
                on repeat.3




1 “…in addition to the episodes in Oklahoma, the tune has found more sinister uses.” See Bryan
Pietsch, Jail Employees Face Charges After Using ‘Baby Shark’ Song to Punish Inmates, THE NEW YORK
TIMES, (October 6, 2020).
2 See Nicholas Bogel-Burroughs, A Playlist to Deter the Homeless: ‘Baby Shark’ and ‘Raining Tacos’, T HE

NEW YORK TIMES, (July 18, 2019).
3 See Korin Miller, ‘Baby Shark’ Was Used to Torture Inmates – And There’s a Scientific Reason Why Some

Songs Are So Agonizing (Catchy tunes can actually elicit a pain response from the brain), HEALTH, (October
8, 2020).

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       60.      The utilization of music to harm and torment has been the topic of academic

symposiums with presentations such as “Music as Torture in Auschwitz and Guantanomo” offered by

Melissa Kagen, a German Studies professor from Stanford University, and its use in “breaking”

prisoners’ wills. Professor Kagen explained that what mattered most was the function of the music

as unending noise. Amanda Daly, a professor of Ethnomusicology at Boston University entitled

her presentation as “Words and War(riors): Music and the War on Terror” to explain that music is

frequently employed by American soldiers in wars in Iraq and Afghanistan and the torture

technique is the loud use of “children’s music” while a prisoner is alone in a room and being placed

in a “forced standing” position.4

       61.      The horrific events at the Jail, as described above, have resulted in at least one

international article written about its specific cruelty and likening it to the torture of prisoners of

war:

             Oklahoma County district attorney David Prater described the Baby Shark
             punishment as “cruel and inhumane,” adding that it put “undue emotional
             stress on the inmates who were most likely already suffering.”

             Prater said that Miles and Butler possess a long history of mistreatment and
             were the subjects of numerous inmate complaints throughout their career.

             While the use of a children’s song for punishment might seem like a comical act,
             sonic torture has a dark history of being wielded by prison authorities to corner
             people into submission.

             A 2008 report by The Guardian states that inmates in Guantanamo Bay were
             forced to listen to Metallica’s Enter Sandman on loop while Deicide’s F**k Your
             God has been used by the American military to psychologically torture prisoners
             in Iraq.5




4
  See Music and Crisis, An Interdisciplinary Graduate Conference, Music and Torture Panel,
UNIVERSITY OF CALIFORNIA, SANTA BARBARA, (April 14-15, 2012).
5
  See Tan Mei Zi, US prison guards in hot water after forcing inmates to listen to “Baby Shark’
on loop while handcuffed, MALAY MAIL, (October 7, 2020).

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        62.      When Oklahoma County District Attorney David Prater described the Baby Shark

punishment as “cruel and inhumane,” and that it put “undue emotional stress on the inmates who

were most likely already suffering” he was echoing the comment made by Investigator Phillip Hall

in the Probable Cause Affidavits, as follows:




        63.      Moreover, when District Attorney David Prater has publicly commented “that

Miles and Butler possess a long history of mistreatment” of inmates.

        64.      This history of mistreatment was well known to supervisors at the Jail, but no action

was taken to stop the conduct and no reasonable measures were taken to alleviate the risk of harm

to detainees like Plaintiffs.

    ! Longstanding Policies and Customs

        65.      Paragraphs 1-64 are incorporated herein.

        66.      There is an affirmative link between the aforementioned unconstitutional acts of

Officers Miles and Butler and Lieutenant Hendershott and policies, practices and/or customs

which Oklahoma County/OCSO/OCCJA promulgated, created, implemented and/or possessed

responsibility for.

        67.      Oklahoma County/OCSO/OCCJA failed to adequately train and supervise its

officers, including Officers Miles and Butler and Lieutenant Hendershott, with respect to, inter alia:

use of force, de-escalation, the use of force continuum, appropriate use of force in a correctional

setting, use of force on a detainee in handcuffs, cruel or inhumane corrections practices and

constitutional requirements for the conditions of confinement.



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       68.      In finding Constitutional liability at the county level, the Tenth Circuit, in Tafoya v.

Salazar, 516 F.3d 912, 919 (10th Cir. 2008), pointed to evidence of an “undisciplined culture of

‘anything-goes’ among the detention officers [that] remained unaddressed and unmitigated by

Sheriff Salazar, who continued to employ a hands-off approach to jail management.” Here, the

Sheriff’s “management style” was “hands-off” at best, and describing the culture at the Jail as

“undisciplined” and “anything goes” would be charitable.            There was an utter absence of

supervision and accountability at the Jail, and an acquiescence and acceptance of lawless behavior,

amounting to reckless indifference to the safety and well-being of the inmates like these Plaintiffs.

       69.      As summarized in the Probable Cause Affidavits issues, the blatantly

unconstitutional conduct of Miles, Butler and Hendershott was open, obvious and repeated. Yet,

no one from Oklahoma County/OCSO/OCCJA stepped in to take remedial action. This

exemplifies a systemic and deep-seated failure to train and supervise, with respect to the most basic

aspects of correctional operations and constitutional conditions of confinement. As stated in the

Probable Cause Affidavits:

             Upon interviewing DO Miles, he confirmed that he and Butler systematically
             worked together and used the benches, bars and attorney booth as a means to
             discipline inmates and teach them a lesson because they felt that disciplinary
             action within the Detention Center was not working in correcting the behavior
             of the inmates. Butler also confirmed that he used the booth as a means of
             punishment. Miles further stated that the inmates often "pissed off' Butler which
             evidence suggests led to those inmates being taken out of their cells/pods and
             mistreated. The secure point on the wall was measured as being 3ft from the
             floor up the wall. At this height and with no chair to sit on, it would have been
             nearly impossible for most inmates to sit or kneel thus forcing them to stand.

             Statements made by inmates and staff also indicated that in addition to the
             corporal punishment given by Miles and Butler, they additionally worked
             together and played children's music on a loop to play repetitively aloud while
             the inmates were housed in the attorney visitation booth thus putting undue
             emotional stress on the inmates who were most likely already suffering from
             physical stressors. The playing of the music was said to be a joke between Miles
             and Butler as confirmed by Miles.



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              Additional evidence showed that Detention Officers Miles and Butler worked
              under their direct supervisor, Lt. Hendershott, who failed to properly
              supervise and discipline them. Miles and Butler were the subject of
              numerous inmate complaints that detailed their history of mistreatment of
              inmates ranging from retaliation to mishandling of inmate mail. In addition,
              nearly 20 hand written inmate complaints were received at one time
              regarding one or both Officers and directly forwarded to their supervisor, Lt.
              Hendershott. Evidence suggests that no investigation was conducted and
              subsequently no corrective action was taken by their direct supervisor, Lt.
              Hendershott. Evidence also showed that when Hendershott first learned of
              inmate mistreatment by Miles and Butler on 11-23-19, he took no immediate
              action to either aid the inmate victim or discipline the Officers. This appeared
              to have led to the Officers continuing to mistreat inmates where at
              least an additional six (6) inmates were physically victimized.

        70.      Oklahoma County/OCSO/OCCJA knew, must have known or should have

known that, due to the obviously inadequate training and supervision, violations of detainees’

constitutional rights was probable, but failed to take reasonable measure to alleviate the risk of

harm.

        71.       Indeed, unabated unconstitutional conditions at the Jail long pre-date the

misconduct of Miles, Butler and Hendershott.

        72.      For instance, in 2008, the U.S. Department of Justice issued a report on

unconstitutional conditions at the Jail. Federal inspectors found inadequate supervision and

staffing, a lack of basic medical and mental health care, overcrowding and a high rate of assaults

and deaths.

        73.      Oklahoma County entered into a memorandum of understanding with the

Department of Justice in 2009 that required the county to adequately fund and staff the jail by

2014, or face enforcement action from the federal government.

        74.       The continually high rate of assaults, uses of violent force and deaths evince an

utter failure to abate the known unconstitutional conditions at the Jail.




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                                      CAUSES OF ACTION

                                EXCESSIVE USE OF FORCE
                         (Fourteenth Amendment; 42 U.S.C. § 1983)

   ! Individual Liability and Underlying Violations

       75.      Paragraphs 1-74 are incorporated herein by reference.

       76.      At the time of the complained of events, Plaintiffs, as pretrial detainees, had a clearly

established constitutional right under the Fourteenth Amendment to be secure in their person and

free from objectively unreasonable and excessive force.

       77.      Any reasonable officer knew or should have known of these rights at the time of

the complained of conduct as they were clearly established at that time.

       78.      The force used by Officers Miles and Butler was excessive and not rationally related

to any legitimate governmental or penological purpose.

       79.      In the totality of the circumstances, at the time that the force as used by Officers

Miles and , Plaintiffs were: 1) unarmed; 2) posing no security problem; 3) not actively resisting; and

4) posing no threat to anyone.

       80.      As a direct proximate result of Officers Miles and Butler’s unlawful conduct,

Plaintiffs have experienced physical and emotional pain and suffering and other damages and

losses as described herein entitling Plaintiffs to recover compensatory and special damages in

amounts to be determined at trial.

   ! Official Capacity / Municipal Liability

       81.      Paragraphs 1-80 are incorporated herein by reference.

       82.      The aforementioned acts of excessive force by Officers Miles and Butler are causally

connected       with      customs,       practices,      and       policies      which       Oklahoma




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County/OCSO/OCCJA/BOCC promulgated, created, implemented and/or possessed

responsibility for.

        83.      Those policies and customs are outlined in Paragraphs 56-74, supra.

        84.      Oklahoma County/OCSO/OCCJA/BOCC knew, must have known or should

have known that, due to the obviously inadequate training and supervision, that unconstitutional

conduct by Oklahoma County/OCSO/OCCJA/BOCC personnel at the Jail , was probable, but

failed to take reasonable measure to alleviate the risk of harm.

        85.      Oklahoma       County/OCSO/OCCJA/BOCC,                    through   its   continued

encouragement, ratification, approval and/or maintenance of the aforementioned policies,

customs, and/or practices; in spite of their known and obvious inadequacies and dangers; has been

deliberately indifferent to citizens’, including Plaintiffs’, health and safety.

        86.      As a direct and proximate result of the aforementioned customs, policies, and/or

practices, Plaintiffs suffered injuries and damages as alleged herein.

      UNCONSTITUTIONAL CONDITIONS OF CONFINEMENT / TORTURE
              (Fourteenth Eighth Amendment; 42 U.S.C. § 1983)

    ! Individual Liability and Underlying Violations

        87.      Paragraphs 1-86 are incorporated herein by reference.

        88.      The tactics utilized by Officers Miles and Butler, including prolonged restraint

without any legitimate purpose and known torture methods such as “standing stress position”

restraint and the loud repeated music (here, “Baby Shark”) constitutes arbitrary and capricious

conduct which has no rational relationship to any legitimate governmental or penological purpose.

The conduct of Officers Miles and Butler in this regard was also wanton, depraved and sadistic,

and was intended to harm Plaintiffs.




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        89.      Plaintiffs were subjected to unconstitutional conditions of confinement in violation

of their Fourteenth Amendment rights.

        90.      As a direct proximate result of Officers Miles and Butler’s unlawful conduct,

Plaintiffs have experienced physical and emotional pain and suffering and other damages and

losses as described herein entitling Plaintiffs to recover compensatory and special damages in

amounts to be determined at trial.

    ! Official Capacity / Municipal Liability

        91.      Paragraphs 1-90 are incorporated herein by reference.

        92.      The aforementioned unconstitutional acts of Officers Miles and Butler are causally

connected        with      customs,       practices,      and       policies       which     Oklahoma

County/OCSO/OCCJA/BOCC promulgated, created, implemented and/or possessed

responsibility for.

        93.      Those policies and customs are outlined in Paragraphs 56-74, supra.

        94.      Oklahoma County/OCSO/OCCJA/BOCC knew, must have known or should

have known that, due to the obviously inadequate training and supervision, that unconstitutional

conduct by Oklahoma County/OCSO/OCCJA/BOCC personnel at the Jail , was probable, but

failed to take reasonable measure to alleviate the risk of harm.

        95.      Oklahoma       County/OCSO/OCCJA/BOCC,                    through     its   continued

encouragement, ratification, approval and/or maintenance of the aforementioned policies,

customs, and/or practices; in spite of their known and obvious inadequacies and dangers; has been

deliberately indifferent to citizens’, including Plaintiffs’, health and safety.

        96.      As a direct and proximate result of the aforementioned customs, policies, and/or

practices, Plaintiffs suffered injuries and damages as alleged herein.




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                                      PRAYER FOR RELIEF

        WHEREFORE, based on the foregoing, Plaintiffs pray this Court grant them the relief

sought, including but not limited to actual and compensatory in excess of Seventy-Five Thousand

Dollars ($75,000.00), with interest accruing from the date of filing suit, punitive damages for

Defendants’ reckless disregard of their federally protected rights, with interest accruing from the

date of filing suit, the costs of bringing this action, a reasonable attorneys’ fee, along with such other

relief as is deemed just and equitable.


                                                Respectfully submitted,


                                                /s/Daniel E. Smolen
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